Case 1:23-cv-02119-NRM-MMH Document 16 Filed 05/19/23 Page 1 of 4 PageID #: 50
                                                                        Three Bryant Park
                                                                        1095 Avenue of the Americas
                                                                        New York, NY 10036-6797
                                                                        +1 212 698 3500 Main
                                                                        +1 212 698 3599 Fax
                                                                        www.dechert.com



                                                                        DAVID KELLEY

                                                                        David.Kelley@dechert.com
                                                                        +1 212 698 3580 Direct
                                                                        +1 212 698 0460 Fax
         May 19, 2023


         VIA CM/ECF

         Honorable Nina R. Morrison
         United States District Judge
         United States District Court for the Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201

         Re: Su v. Advanced Care Staffing, LLC, et al., No. 1:23-cv-02119-NRM-MMH

         Dear Judge Morrison:

         Pursuant to Sections 5.1 and 5.2 of the Court’s Individual Practice Rules, we write to request a
         pre-motion conference to address ACS’ anticipated dispositive motion. The Complaint attempts
         to plead a minimum wage count and an overtime count against Defendants Advanced Care
         Staffing, LLC and Samuel Klein (together, the “Defendants”) under the Fair Labor Standards Act
         (“FLSA”), 26 U.S.C. §§ 206–07. Because the allegations against the Defendants fail to state a
         claim under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), the Defendants should be
         permitted to move to dismiss the Complaint.

         ACS is a Brooklyn-based staffing agency that recruits and places hundreds of healthcare workers
         in healthcare facilities across New York, New Jersey, and Connecticut. ACS expends significant
         resources to recruit, train and bring foreign nurses to the United States to help fill a critical
         shortage of skilled nursing in health care facilities. The substantial benefits provided by ACS to
         these employees include, among others, immigration-related services, licensing services, airfare,
         housing, and groceries, all of which enable them both to come to the United States in the first
         place, and to obtain lawful permanent resident status. In exchange for ACS’ substantial
         investment in each of its employees and the substantial benefits ACS provides to them, ACS
         employees sign an employment agreement that commits them to work for a three-year term of
         employment. All such employees are paid well in excess of minimum wage (and indeed in
         excess of the prevailing wage for nurses), as well as overtime for all hours worked over 40 hours
         in a given workweek. As part of that employment agreement, ACS and its employees agree to
         arbitrate disputes between them under the auspices of the American Arbitration Association and
         in accordance with applicable law.
Case 1:23-cv-02119-NRM-MMH Document 16 Filed 05/19/23 Page 2 of 4 PageID #: 51


                                                                           Honorable Nina R. Morrison
                                                                           May 19, 2023
                                                                           Page 2




         The U.S. Department of Labor, through its Acting Secretary Julie A. Su (“DOL”), alleges that
         ACS violates the FLSA’s minimum-wage and overtime provisions by agreeing with its
         employees to arbitrate claims either party may have against the other, including any claims for
         breach of contract in the event an employee quits before his or her contractually agreed-upon
         three-year term of employment has concluded. DOL alleges that even if ACS does not recover a
         penny from an employee who breaches his contract with ACS, the mere fact that ACS may
         recover against an employee subjects the employees’ wages to illegal “kickbacks” in violation of
         the FLSA.

         Under the U.S. Constitution’s Article III standing requirement, the FLSA’s basic framework, and
         the standards of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556
         U.S. 662 (2009), DOL both (a) lacks standing, and (b) fails as a matter of law to state a claim.
         Nowhere in the Complaint does DOL allege any facts demonstrating that any ACS employee—
         including the only former ACS employee DOL names in its Complaint (Benzor Shem Vidal)—
         has actually had their wages reduced below the FLSA-mandated minimum wage and overtime
         requirements. As an initial matter, then, DOL lacks standing because no ACS employee has
         suffered a concrete and particularized harm. For the same reason, DOL fails to state a claim as a
         matter of law because the Second Circuit’s FLSA pleading standards require an FLSA plaintiff to
         point to the specific amount by which an employee’s wages were reduced below the minimum
         wage or overtime requirements. Finally, DOL’s novel theory that the mere possibility of
         recovering contract damages against a former employee somehow subjects an employee’s wages
         to a kickback has no basis in law and must fail. The specific grounds for the proposed motion are
         as follows:

         1.      DOL lacks Article III standing to sue the Defendants for violating the FLSA. The
         United States Supreme Court has explained that “[t]o establish injury in fact, a plaintiff must
         show that he or she suffered ‘an invasion of a legally protected interest’ that is ‘concrete and
         particularized’ and ‘actual or imminent,’ not conjectural or hypothetical.’” Spokeo, Inc. v.
         Robins, 578 U.S. 330, 339 (2016) (quoting Lujan v. Def’s of Wildlife, 504 U.S. 555, 560 (1992)
         (emphasis added). “A ‘concrete’ injury must be ‘de facto’; that is, it must actually exist.” Id. at
         340. Put simply: “No concrete harm, no standing.” TransUnion LLC v. Ramirez, 141 S. Ct.
         2190, 2200 (2021). Here, DOL’s Complaint alleges nothing more than a hypothetical future
         harm: someday it is possible that an arbitrator might award ACS damages such that the
         employee’s wages fell below the federal minimum wage.1 Contrary to DOL’s assertion that
         Vidal was not paid his wages “free and clear,” (Compl. ¶ 78), DOL’s own factual allegations
         confirm Vidal was paid all wages owed to him. See Compl. ¶¶ 72, 75–77 (demonstrating Vidal
         was paid for all hours worked at a rate well above the minimum wage). Further, DOL has not

         1
          The Defendants reject the premise that an award of contract damages has any bearing on an employee’s
         wages, as discussed below.
Case 1:23-cv-02119-NRM-MMH Document 16 Filed 05/19/23 Page 3 of 4 PageID #: 52


                                                                         Honorable Nina R. Morrison
                                                                         May 19, 2023
                                                                         Page 3




         alleged Vidal paid ACS any penalty, fee, or damage award. Thus, Vidal is unharmed. Because
         DOL has not identified a “concrete and particularized harm” but rather a “conjectural or
         hypothetical” one, it lacks Article III standing and its Complaint must be dismissed.

         2.       DOL fails to plead facts demonstrating that the Defendants violated the FLSA. For the
         same reason DOL lacks Article III standing, DOL fails as a matter of law to state claims for
         FLSA violations against the Defendants. In the Second Circuit, “to state a plausible FLSA
         overtime claim, a plaintiff must sufficiently allege 40 hours of work in a given workweek as well
         as some uncompensated time in excess of the 40 hours.” Lundy v. Cath. Health Sys. of Long
         Island Inc., 711 F.3d 106, 114 (2d Cir. 2013) (concluding plaintiffs failed to plead an FLSA
         overtime violation “because Plaintiffs have not alleged a single workweek in which they worked
         at least 40 hours and also worked uncompensated time in excess of 40 hours.”). Similarly, a
         plaintiff’s burden in pleading an FLSA minimum wage claim “is arithmetical.” Lopez-Serrano v.
         Rockmore, 132 F. Supp. 3d 390, 402 (E.D.N.Y. 2015). “An employee cannot state a claim for a
         minimum wage violation unless his average hourly wage falls below the federal minimum wage.”
         Id. (cleaned up). DOL’s allegations confirm that ACS paid its employees all minimum wage and
         overtime wages owed. See Compl. ¶¶ 72, 77. Accordingly, DOL’s factual allegations undermine
         its argument that ACS’ employees’ wages fell below the FLSA minimum wage and overtime
         requirements. DOL only points to a hypothetical future arbitration award (in an arbitration which
         has been stayed) that could theoretically bring a single former employee’s wages below the FLSA
         floor (assuming a “kickback” theory that is itself fatally flawed). See, e.g., Walsh v. Lalaja, Inc.,
         565 F. Supp. 3d 766, 772 (E.D.N.C. 2021) (granting motion for judgment on the pleadings where
         DOL fails to allege any facts about the amount of wages the employer allegedly failed to pay its
         employees). Without pleading that ACS actually failed to pay its employees below the federal
         minimum wage, DOL fails to state a claim for violations of the FLSA.

         3.       DOL’s novel theory that potential contract damages are a kickback of earned wages
         fails as a matter of law. The FLSA requires “a minimum wage must be paid free and clear of
         any deductions or kickbacks to the employer.” Morangelli v. Chemed Corp., 922 F. Supp. 2d
         278, 299 (E.D.N.Y. 2013) (cleaned up). “Courts have generally found deductions for ‘tools of
         the trade’ such as uniforms, vehicles and other costs that are specific business expenses of the
         employer, and that are primarily for the benefit of the employer, to be ‘kickbacks.’” Park v.
         FDM Grp. (Hldgs.) PLC, 2017 WL 946298, at *3 (S.D.N.Y. Mar. 9, 2017), vacated in part on
         other grounds by Park v. FDM Grp., Inc., 2018 WL 4100524 (S.D.N.Y. Aug. 29, 2018) (granting
         motion for reconsideration to permit plaintiff leave to file a Second Amended Complaint). In
         Park, the district court concluded that a $20,000 liquidated damages provision for breaking a two-
         year employment agreement was not a kickback because such a provision “is not a deduction for
         tools used or costs incurred in the course of Plaintiff’s performance of her job,” and that if the
         plaintiff completed her two-year employment obligation, she would owe her employer nothing.
         Id. at *4. Because the plaintiff did not allege any deductions or withholdings that reduced her
Case 1:23-cv-02119-NRM-MMH Document 16 Filed 05/19/23 Page 4 of 4 PageID #: 53


                                                                             Honorable Nina R. Morrison
                                                                             May 19, 2023
                                                                             Page 4




         income below the FLSA minimum wage requirement, the district court dismissed her claim. See
         id.2 The holding in Park, which is squarely on point with this case, is consistent with authority in
         other jurisdictions and eviscerates DOL’s “kickback” theory.

                 Indeed, under DOL’s theory, any claim by an employer against an employee (whether for
         breach of contract, sounding in tort, or for any other dispute between them) would always
         constitute a kickback because an award in the employer’s favor might – if characterized as a
         deduction from wages – bring that employee below the minimum wage and/or overtime
         thresholds under the FLSA in a given workweek. The caselaw and DOL’s own regulations do
         not support such a strained definition of “kickback” and this Court should reject such a dramatic
         and unwarranted expansion.

                                                           ***

         ACS contacted DOL about a briefing schedule with respect to its anticipated motion to dismiss,
         but DOL declined to agree to a schedule until such time as DOL has an opportunity to review
         ACS’ instant submission.

         We will be prepared to address these issues at a pre-motion conference.


         Sincerely,

         /s/ David N. Kelley

         David N. Kelley




         2
                  Of course, here, unlike in Park, ACS’ employment agreements do not provide for a liquidated
         damages payment; rather, they allow an arbitrator to assess contractual damages (if any) in accordance with
         applicable law.
